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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 ANSON MARKWELL, as Trustee for the    §
 AMARK INVESTMENT TRUST                §
                                       §
 v.                                    §
                                       §
 EQUITYBUILD, INC. D/B/A EB            §
 EQUITYBUILD CAPITAL, INC.; HARD       §
 MONEY COMPANY, LLC D/B/A              §
 VENTURE HARD MONEY CAPITAL,           §
 LLC; EQUITYBUILD FINANCE, LLC;        §
 JERRY H. COHEN; SHAUN D. COHEN;       §                  Case No. 4:18-cv-01274
 SSDF4 6250 S. MOZART, LLC; SSDF4      §
                               TH
 638 N AVERS, LLC; SSDF4 701 5 , LLC; §
 SSDF4 7024 S. PAXTON, LLC; SSDF4      §
 7255 S. ELUCID, LLC; SSDF5            §
 PORTFOLIO 1, LLC; SSDF7 PORTFOLIO §
 1, LLC; 4533-37 S. CALUMET, LLC; 6437 §
 S. KENWOOD, LLC; 7026 CORNELL,        §
 INC.; 7109 S. CALUMET, LLC; 8100 S.   §
 ESSEX, LLC; EB SOUTH CHICAGO 4,       §
 LLC; AND SSPH PORTFOLIO 1, LLC        §


             PLAINTIFF’S APPLICATION FOR TEMPORARY RESTRAINING ORDER
                         AND MOTION FOR EXPEDITED HEARING



TO THE HONORABLE CHIEF UNITED STATES DISTRICT JUDGE LEE H. ROSENTHAL:

       NOW COMES Plaintiff Anson Markwell, as Trustee for the AMark Investment Trust

(collectively, “AMark”), complaining of Defendants EquityBuild, Inc. d/b/a EB EquityBuild

Capital, Inc.; Hard Money Company, LLC d/b/a Venture Hard Money Capital, LLC; EquityBuild

Finance, LLC; Jerry H. Cohen; Shaun D. Cohen; SSDF4 6250 S. Mozart, LLC; SSDF4 638 N

Avers, LLC; SSDF4 701 5TH, LLC; SSDF4 7024 S. Paxton, LLC; SSDF4 7255 S. Elucid, LLC;

SSDF5 Portfolio 1, LLC; SSDF7 Portfolio 1, LLC; 4533-37 S. Calumet, LLC; 6437 S. Kenwood,

LLC; 7026 Cornell, Inc.; 7026 S. Calumet, LLC; 8100 S. Essex, LLC; EB South Chicago 4, LLC;

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and SSPH Portfolio 1, LLC, and files this Application for Temporary Restraining Order and

Motion for Expedited Hearing (the “Application”), and in support thereof would respectfully show

the Court the following:

                                  I. FACTUAL BACKGROUND

       1.      As further detailed within AMark’s First Amended Complaint, this lawsuit

surrounds the misappropriation of AMark’s loaned funds and the transfer of various real property

parcels against the interest of AMark. The lawsuit arises from numerous transactions, transfers,

and other improper actions by the various defendants and involved a number of properties. In

support of this Application, attached hereto as Exhibit “A” and incorporated by reference is the

affidavit of Anson Markwell, as Trustee of the AMark Investment Trust.

AMARK’S LOAN ON THE HOUSTON PROPERTY

       2.      This Application focuses on an investment by AMark in a single property

commonly known as 1102 Bingham Street, Houston, Texas 77007 (“Houston Property”). In this

transaction, Hard Money pooled money together from other lenders, then acted as servicer and

agent of a loan from the lenders (including AMark) to EB Capital. EB Capital used the loan

proceeds to acquire the Houston Property, and in exchange, executed a promissory note to Hard

Money, as servicer and agent for all lenders (including AMark), which was secured by a Deed of

Trust to the Houston Property.

       3.      On March 20, 2014, AMark and Hard Money mutually executed a Collateral

Agency and Servicing Agreement (the “Houston Servicing Agreement”), a true and correct copy

of which is attached hereto and incorporated herein for all purposes as Exhibit “A-1.” As a result

of the resulting agent-principal relationship, Hard Money owed AMark fiduciary duties as




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AMark’s agent to act solely in the best interest of AMark, as well as fulfill all duties and obligations

as AMark’s agent and fiduciary with regard to the Houston Property.

       4.      Pursuant to the terms of the Houston Servicing Agreement, AMark loaned the sum

of $125,000.00 to be used as part of the funds that would finance the purchase of the Houston

Property.

       5.      On April 1, 2014, EB Capital and Hard Money executed a promissory note

(the “Houston Promissory Note”) in the amount of $1,663,053.00, a true and correct copy of which

is attached hereto and incorporated herein for all purposes as Exhibit “A-2.”

       6.      Pursuant to the terms of the Houston Promissory Note, Hard Money pooled

AMark’s loaned funds with $1,538,053.00 in additional funds from other lenders and loaned EB

Capital the amount of $1,663,053.00, which EB Capital purported to use to purchase the Houston

Property and develop the Houston Property.

RELEASE OF AMARK’S LIEN ON THE HOUSTON PROPERTY

       7.      On June 27, 2018, AMark became aware of various Partial Release of Liens

(“Releases”) that were filed by Hard Money on behalf of various Lenders related to the Houston

Property during a search of the Harris County Real Property Records. Several Releases were

anticipated to be filed due to the fact that the parties had been engaged in discussions surrounding

the current status of the Houston Property and EB Capital and Hard Money had indicated that

some Releases would be filed to properly reflect the current interest of the various lenders on the

Houston Property. However, one of the Releases that was prepared, executed, notarized, and

recorded sought to release all of AMark’s interest in the Houston Property (“AMark Release”). A

true and correct copy of the release filed relating to AMark’s interest is attached hereto and

incorporated herein for all purposes as Exhibit “A-3.”



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       8.      After receiving notice of the filing of the AMark Release, the undersigned

immediately contacted Defendants’ counsel regarding the filing of the AMark Release and the

reasoning behind such filing. Defendants’ counsel responded to this inquiry and advised that the

filing of the AMark Release was not intended to prejudice AMark’s rights and was filed in an

effort “to move investors off of the Houston Property to make room for a settlement” with AMark

that was being discussed and evaluated. Defendants’ counsel further assured AMark’s counsel

that if AMark would like the lien to remain in place, Defendants would be willing to void the

AMark Release.

       9.      Upon receipt of this communication from Defendants’ counsel, AMark promptly

prepared an Agreed Order Granting Declaratory Relief and a Correction Deed seeking to remedy

this improper filing and to preserve the perfection and priority of AMark’s lien that was

inadvertently released. In response to this proposal to remedy the filing of the AMark Release,

Defendants’ counsel responded to our email assuring us that the AMark Release was the result of

an accident by Defendants’ attorney, not an error by the Defendants.           This representation

contradicted the prior representations made regarding the reason for the AMark Release.

       10.     Regardless of the reason the AMark Release was signed and filed, it has become

clear that the Defendants are not taking this matter seriously as they continue to take actions with

respect to AMark’s interest in the Houston Property and on its behalf. Moreover, they continue to

contact AMark and seek to explain the reason for these actions as well as the financial difficulties

they are experiencing. A true and correct copy of the most recent communication received from

Defendant EB Capital seeking to explain its actions is attached hereto and incorporated by

reference as Exhibit “A-4.” As of the filing of this Application, AMark has not yet been able to

resolve this discrepancy by agreement with Defendants.



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       11.       AMark sought injunctive relief in its First Amended Complaint; however, it did not

seek a temporary restraining order as it did not believe such relief was necessary at the time it was

filed and it believed the Defendants would refrain from taking action with regard to the disposition

of the Houston Property or the release of AMark’s liens on the same. Based upon the above

detailed actions by Defendants, AMark was compelled to pursue the relief sought in this

Application and is seeking the same be heard on an expedited basis to prevent further harm.

                II. DECLARATORY JUDGMENT & TEMPORARY RESTRAINING ORDER

       12.       AMark incorporates all previous and subsequent paragraphs of this petition herein

by reference.

       13.       AMark seeks to have a declaratory judgment entered confirming that (i) the AMark

Release is declared void ab initio; (ii) that AMark’s lien and security interest in the Houston

Property is hereby confirmed, reinstated, declared as valid from its initial date of filing as reflected

in the original Deed of Trust; and (iii) that a certified copy of the Order declaring the foregoing be

promptly filed in Harris County Real Property Records as supported by an affidavit of AMark’s

counsel.

       14.       Further and as set forth in detail above, AMark seeks injunctive relief enjoining

Defendants from taking any actions on behalf of AMark.

       15.       A court sitting in diversity jurisdiction must applies state law to the substantive

claims and causes of action. Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938). Under Texas law,

injunctive relief may be granted upon a showing of the following: (1) a cause of action against

defendant; (2) a probable right to the relief sought; (3) a probable, imminent, and irreparable injury

in the interim; and (4) the absence of an adequate legal remedy at law. Butnaru v. Ford Motor

Co., 84 S.W.3d 198, 204 (Tex. 2002).



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        16.     The probable injury element requires a showing that the harm is imminent, the

injury would be irreparable, and that the plaintiff has no other adequate legal remedy. Harbor

Perfusion, Inc. v. Floyd, 45 S.W.3d 713, 716 (Tex. App.—Corpus Christi 2001, no pet.). For a

legal remedy to be adequate, it must give the plaintiff complete, final, and equal relief. See

Universal Health Servs., Inc. v. Thompson, 24 S.W.3d 570, 577 (Tex. App.—Austin 2000, no

pet.); Henderson v. KRTS, Inc., 822 S.W.2d 769, 773 (Tex. App.—Houston [1st Dist.] 1992, no

writ). For the purposes of injunctive relief, if damages cannot be calculated, or if the defendant

will be unable to pay damages, there is no adequate remedy at law. Texas Indus. Gas v. Phoenix

Metallurgical Corp., 828 S.W.2d 529, 533 (Tex. App.—Houston [1st Dist.] 1992, no writ); Surko

Enters., Inc. v. Borg-Warner Acceptance Corp., 782 S.W.2d 223, 225 (Tex. App.—Houston [1st

Dist.] 1989, no writ).

        17.     As set forth in great detail above and in First Amended Complaint, AMark has

established its causes of action and its probable right to prevail on its respective claims for

damages. See Camp v. Shannon, 348 S.W.2d 517 (Tex. 1961); T.N.T. Motorsports, Inc. v.

Hennessey Motorsports, Inc., 965 S.W.2d 18, 23-24 (Tex. App.—Houston [1st Dist.] 1998, pet.

dism’d).

        18.     Further, Defendants’ own actions unequivocally establish the existence of a

substantial threat of imminent harm and irreparable injury. Defendants have made abundantly

clear their intention to disregard their fiduciary duties and freely transfer and modify the lien rights

of AMark as to the Houston Property. Thus, injunctive relief is clearly necessary in this situation

to preserve AMark’s status and to enable it to pursue its legal rights. See Walling v. Metcalfe, 863

S.W.2d 56, 58 (Tex. 1993) (holding that the trial court may grant temporary injunctive relief to

preserve status quo even though the cause of action is for damages resulting from breach of



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contract and does not request equitable relief). Thus, this Court’s granting of injunctive relief is

warranted and necessary. Fed. R. Civ. P. 65; Liberty Mut. Ins. Co. v. Mustang Tractor & Equip.

Co., 812, S.W.2d 663, 666 (Tex. App.—Houston [14th Dist.] 1991, no writ) (holding that

“[b]usiness disruptions…have been found previously to be the very type of harm for which

temporary injunction can issue”).

       19.     Additionally, AMark has no adequate remedy at law if the Houston Property is

transferred, sold, or AMark’s lien interest is released without its knowledge or consent since, based

upon information and belief, Defendants appear to be headed toward insolvency and unlikely to

be able to satisfy any award of damages already caused and threatened to be caused by Defendants’

unlawful conduct. See GTE Mobilnet of South Texas, LP v. Cellular Max, Inc., 123 S.W.3d 801

(Tex. App.—Beaumont 2003, pet. dism’d). AMark is willing to post a bond to secure the relief

sought in this Application.

                              III. MOTION FOR EXPEDITED HEARING

       20.     Due to the imminent nature of the irreparable injury, an emergency hearing is

requested, such that the Temporary Restraining Order may immediately issue. Pursuant to the

Paragraph 16 of the Court’s Procedures, Matthew B. Fronda, a young lawyer with three (3) years

of experience that substantially prepared this Motion will present and argue this Motion to the

Court. Either Alan Padfield or George Pence, both senior attorneys, will attend the hearing as well

to provide any necessary assistance.




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                                            IV. PRAYER

       WHEREFORE, PREMISES CONSIDERED, AMark prays an order entered against

Defendants awarding the following relief:

               1.      That the AMark Release, which has been recorded in Harris County Real

       Property Records as Document # RP-2018-283280, be DECLARED VOID AB INITIO;

               2.      That AMark’s lien and security interest in the Real Property be confirmed

       and declared as valid from its initial date of filing as reflected in underlying Deed of Trust;

               3.      That to effectuate the terms of the resulting order, a certified copy of the order

       and its exhibits be ordered to be promptly be filed in Harris County Real Property Records,

       accompanied by an original affidavit executed by Plaintiff’s counsel;

               4.      That a preliminary injunction be immediately set for hearing and entered to

       effectuate the relief sought in this Application on an extended basis, pending resolution of

       Plaintiff’s claims; and

               5.      That Defendants Hard Money, EB Capital, Shaun Cohen, Jerry Cohen, and

       EquityBuild Finance, LLC be prohibited from taking any further actions on behalf of or as

       an agent for AMark including, but not limited to, any action as to the Houston Property.




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                                            Respectfully submitted,

                                            PADFIELD & STOUT, L.L.P.
                                            421 W. Third Street, Suite 910
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                                             /s/ Matthew B. Fronda
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                                            Matthew B. Fronda
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                                            mfronda@padfieldstout.com

                                            Attorneys for Plaintiff



                                CERTIFICATE OF CONFERENCE

        This is to certify that on June 27, 2018 and June 28, 2018, I exchanged multiple emails
with Jason Kraus, counsel for Defendants, regarding the merits of this Motion and we were unable
to reach a resolution regarding the same.


                                            /s/ Alan B. Padfield
                                            Alan B. Padfield




                                  CERTIFICATE OF SERVICE

       This is to certify that on June 28, 2018, I forwarded a true and correct copy of this
Application for Temporary Restraining Order and Motion for Expedited Hearing to Defendants,
by and through their attorney of record, Jason Kraus, via email and/or ECF service.


                                            /s/ Alan B. Padfield
                                            Alan B. Padfield



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